            Case 1:18-cv-11642-VM-VF Document 205 Filed 12/18/20 Page 1 of 2

                                                       Court-Appointed Temporary Receiver for Link Motion
                                                       Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                       the United States District Court, Southern District of New
                                                       York


    469 7th Avenue, 5th Floor
    New York, New York 10036
    Tel: (212) 523 - 0686
    Email: rseiden@seidenlegal.com

    December 18, 2020

    VIA ECF
    Honorable Debra C. Freeman
    United States Courthouse
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

            Re: Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

    Dear Magistrate Judge Freeman:

           I hope this correspondence finds you healthy and well. I write to inform the Court that the
    Receiver’s legal team is seeking to recover US$10 million that the current majority shareholder of
    Link Motion Inc. (“Link Motion” or the “Company”), China AI Capital Limited (“China AI”),
    owes to Link Motion for 50% of its 70,175,439 shares of the Company. To date, China AI has
    refused to deposit into escrow or trust the funds it owes to the Company for payment of the shares
    for which China AI has been in default of for roughly two years. The Receiver’s team brought this
    matter to Judge Marrero’s attention in October, under seal, and I am now requesting assistance
    from this court as all matters have been directed to your attention and you have requested that the
    Receiver file correspondence such as this on the Court’s ECF system. As a result, I ask this Court
    for permission to cancel China AI’s unpaid shares of Link Motion and remove these shares from
    the Cayman registry.

           After engaging Maples Corporate Services Limited as Link Motion’s registered agent in the
    Cayman Islands, my legal team secured a copy of the Subscription Agreement entered into between
    China AI and Link Motion (“Subscription Agreement”). 1 Under the terms of the Subscription
    Agreement, China AI was obligated to pay US$10 million as an initial payment and US$10 million
    by September 19, 2018 for 70,175,439 shares of the Company. China AI’s ownership of all the
    shares was reflected on the Registry upon delivery of the initial payment.

            The Company granted China AI an extension from the September 2018 closing date to
    November 19, 2018. However, China AI did not pay the US$10 million by November 19, 2018.
    To date, China AI has not paid for over 35,000,000 shares of the Company and yet simultaneously
    benefits from the ownership of these shares by exerting its rights and privileges as majority
    shareholder of Link Motion. Simply put, China AI is reaping the benefits of owning these shares
    without having paid for them.

        Because China AI has been in default under the Subscription Agreement, the Receiver’s team
is seeking to recover funds rightfully owed to Link Motion. In accordance with the Company’s

1
    See Exhibit A, Subscription Agreement.
         Case 1:18-cv-11642-VM-VF Document 205 Filed 12/18/20 Page 2 of 2

                                                     Court-Appointed Temporary Receiver for Link Motion
                                                     Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                     the United States District Court, Southern District of New
                                                     York
Articles of Association and the Subscription Agreement, by letter dated August 25, 2020, the
Receiver’s legal counsel in the Cayman Islands sent China AI’s counsel, Jae Cho, as well as a copy
to China AI’s registered agent in the Cayman Islands, a letter demanding China AI pay for the
remaining unpaid shares or risk the unpaid shares being struck off the Company’s Registry. China
AI responded that the Receiver did not have the authority to cancel China AI’s unpaid shares and
requested financial statements and a business plan before proceeding further.

        Seeking to recover the US$10 million that China AI owes to the Company, the Receiver’s
counsel offered to engage in settlement discussions if China AI’s request for the financial statements
and a business plan was waived and if China AI put US$10 million in an escrow account as a good
faith gesture. China AI was guaranteed that the US$10 million would be promptly returned if no
settlement could be reached within 20 business days.

       China AI asked for a month to respond and still requested the Company’s financial
documents. China AI is not negotiating in good faith as it knows the Company is in Receivership
and cannot produce these documents, and instead wants to keep its shares of the Company without
paying for them.

        Because China AI is currently in default under the Subscription Agreement, the Company
has the unilateral power to cancel China AI’s unpaid shares. Therefore, as China AI is still
benefitting from shares of the Company that it has not paid for and is refusing to pay for, the Receiver
seeks this Court’s permission to cancel China AI’s unpaid shares.

       Thank you for your time and assistance with this matter. Please do not hesitate to contact
 me via email or telephone if your Honor wishes to discuss this matter in further detail.


                                                      Sincerely,



                                                       Robert W. Seiden, Esq.
                                                       Court-Appointed Temporary Receiver for
                                                       Link Motion Inc.
